iN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
STATESVILLE DIVISION

UNITED STATES OF AMERICA DOCKET NO. 5:20-cr-49-K DB

)
)
v. )
) CONSENT ORDER AND
MIGUEL ANGEL PASTRANO ) JUDGMENT OF FORFEITURE

WHEREAS, the defendant, MIGUEL ANGEL PASTRANO, has enlered into a plea
agreement (incorporated by reference herein) with the United States and has voluntarily pleaded
guilty pursuant to Fed. R. Crim. P. 11 to one or more criminal offenses under which forfeiture may
be ordered:

WHEREAS, the defendant and the United States stipulate and agree that the property
described below constitutes properly derived from or taceable to proceeds of the defendant's
offenses) herein; property involved in the offenses, or any property traceable to such property;
and/or property used in any manner to facilitate the commission of such offense(s); or substitute
property as defined by 21 U.S.C. § 853(p) and Fed. R. Crim, P. 32,2(€); and is therefore subject to
forfeiture pursuant to 18 U.S.C. § 924(d), and/or 28 U.S.C. § 2461(c), provided, however, that
such forfeiture is subject to any and all third party claims and interests, pending final adjudication
herein: the defendant waives his interest, if any, in the property and agrees to the forfeiture of such
interest;

WHEREAS, the defendant herein waives the requirements of Fed, R. Crim. P, 32.2
regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment against defendant;

WHEREAS, pursuant to Fed. R. Crim. P, 32.2(b)(1) & (c)(2), the Court finds that there is
the requisite nexus between the property and the offense(s) to which the defendant has pleaded

guilty;

WHEREAS, the defendant withdraws any claim previously submitted in response to an
administrative forfeiture or civil forfeiture proceeding concerning any of the property described
below. If the defendant has not previously submitted such a claim, the defendant hereby waives
all right to do so. If any administrative forfeiture or civil forfeiture proceeding concerning any of
the property described below has previously been stayed, the defendant hereby consents to a lifting
of the stay and consents to forfeiture;

WHEREAS, the undersigned United States Magistrate Judge is authorized to enter this
Order by the previous Order of this Court No. 3:05MC302-C (September 8, 2005);

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NOW, THEREFORE, IT IS HEREBY ORDERED THAT the following property is
forfeited to the United States:

¢ Glock 19, 9mm caliber pistol, bearing serial number BMPGI66;

« WASR 107, 7.62x39mm caliber rifle, bearing serial number KB191879RO;

¢ OMNI Hybrid AR-15, .223 caliber rifle, bearing serial number NS151116, with
scope;

* Ruger AR-15, .223 caliber rifle, bearing serial number 854-42687;

e Marlin, 22 caliber rifle, bearing serial number 25325957; and

* Assorted ammunition.

The United States Marshal and/or other property custodian for the investigative agency is
authorized to take possession and maintain custody of the above-described tangible property.

If and to the extent required by Fed. R. Crim. P, 32.2(b)(6), 21 U.S.C. § $53(n), and/or
other applicable law, the United States shall publish notice and provide direct written notice of this
forfeiture,

As to any firearms and/or ammunition listed above and/or in the charging instrument,
defendant consents to disposal by federal, state, or local law enforcement authorities upon such
legal process as they, in their sole discretion, deem to be legally sufficient, and waives any and all
right to further notice of such process or such destruction.

Any person, other than the defendant, asserting any legal interest in the properly may,
within thirty days of the publication of notice or the receipt of notice, whichever is earlier, petilion
the court for a hearing to adjudicate the validity of the alleged interest,

Pursuant to Fed. R, Crim, P. 32.2(b)(3), upon entry of this Order of Forfeiture, the United States
Attorney’s Office is authorized to conduct any discovery needed to identify, locate or dispose of

ihe property, including depositions, interrogatories, requests for production of documents and to
issue subpoenas, pursuant to Fed, R. Civ. P. 45.

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Following the Court's disposition of all timely petitions filed, a final order of for feiture
shall be entered, as provided by Fed, R. Crim, P, 32.2(c)(2). if no third party files a timely petition,
this order shall become the final order and judgment of forfeiture, as provided by Fed. R. Crim, P.
32,2(c)(2), and the United States shall have clear title to the property and shal} dispose of the
property according to law. Pursuant to Fed, R. Crim. P. 32.2(b)(4)(A), the defendant consents that
this order shall be final as to defendant upon filing.

SO AGREED:

STEVEN R. KAUFMAN
Assistant United States Attorney

 

f Syndr

[ De RA, ESQ,
Attorney yet

 

Signed: January 12, 2021

  

SNOR ABLE BA VID C. KEESLER
United States Magistrate Judge
Western District of North Carolina

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